       Case 1:01-cv-10408-RCL Document 766 Filed 01/23/12 Page 1 of 3




              United States Court of Appeals
                            For the First Circuit

No. 11-1018

         EMILY MCINTYRE, as Administrator of the Estate of John L. McIntyre;
           CHRISTOPHER MCINTYRE, in his capacity as Co-Administrator
                      of the Estate of John L. McIntyre

                         Plaintiffs - Appellees/Cross-Appellants

                                             v.

                                   UNITED STATES

                         Defendant - Appellant/Cross-Appellee
                          -----------------------------------------

                                H. PAUL RICO, ET AL

                                       Defendants


No. 11-1019

        EMILY MCINTYRE, as Administrator of the Estate of John L. McIntyre;
  CHRISTOPHER MCINTYRE, in his capacity as Co-Administrator of the Estate of John L.
                                  McIntyre

                         Plaintiffs - Appellants/Cross-Appellants

                                             v.

                                   UNITED STATES

                          Defendant - Appellee/Cross-Appellee
                              ---------------------------------

                                H. PAUL RICO, ET AL

                                       Defendants


                                      MANDATE
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                                 Entered: January 20, 2012

       In accordance with the judgment of January 20, 2012, and pursuant to Federal Rule of
Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                          By the Court:

                                          /s/ Margaret Carter, Clerk


cc:
Edward Berkin
Thomas Mark Bondy
Richard E. Bowman
Douglas Scott Brooks
Kate Miller Brown
Katherine A. Carey
Dina Michael Chaitowitz
William E. Christie
Eric Paul Christofferson
Earle C. Cooley
Frank C. Corso
Albert F. Cullen Jr.
Jeffrey A. Denner
Ann M. Donovan
James Patrick Duggan
Lawrence Eiser
Michael K. Fee
Brian P. Fitzsimmons
Stephen J. Flemmi
George L. Garfinkle
Peter E. Gelhaar
Christine Marie Genaitis
Robert Albert George Sr.
Steven M. Gordon
Paul J. Griffin
Edward T. Hinchey
Michael Anton Laurano
Mary McElroy Leach
Jonathan Heuer Levy
Frank Albert Libby
Bridget Bailey Lipscomb
Edward J Lonergan
Douglas I. Louison
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Case: 11-1018                   Document
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 Joseph J. Machera
 A. Douglas Matthews
 Dean A. Mazzone
 James P. McDonald
 Christopher T. Meier
 Richard Montague
 John M. Morris
 E. Peter Mullane
 Stephen Neyman
 E. Peter Parker
 Peter J. Perroni
 Stephen C. Pfaff
 Edward M. Reilly
 Alan D. Rose Sr.
 James W. Simpson Jr.
 Thomas C. Tretter
 Tory A. Weigand
